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14
                           UNITED STATES DISTRICT COURT
15
                          NORTHERN DISTRICT OF CALIFORNIA
16
      MISHARI ALEISA and NICOLE                        Case No. 3:20-cv-00806-EMC
17    BELLUOMINI, Individually and on
18    behalf of all others similarly situated,         PLAINTIFFS’ OPPOSITION TO
                                                       DEFENDANT SQUARE, INC.’S
19                                                     MOTION TO STAY PENDING THE
                           Plaintiff,
20                                                     SUPREME COURT’S DECISION IN
      v.                                               FACEBOOK, INC. V. DUGUID AND/OR
21                                                     THE FCC’S DEFINITION OF ATDS
22    SQUARE, INC., a Delaware
      Corporation,
23                                                     Date:            October 1, 2020
24                         Defendant.                  Time:            1:30 p.m.
                                                       Judge:           Hon. Edward M. Chen
25                                                     Courtroom:       5 – 17th Floor
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 1 I.       INTRODUCTION
 2          Coming on the heels of its first Motion to Stay, its 12(b)(1) Motion to Dismiss
 3 based on its affirmative defense of consent, its amended Motion to Dismiss (to correct
 4 the supposedly uncontested “facts” from its first motion to dismiss), as well as its
 5 recently served discovery requests to the representative plaintiffs, Defendant Square,
 6 Inc. (“Square” or “Defendant”) now files a request to stay the proceedings pending
 7 the Supreme Court’s anticipated 2021 decision in Facebook Inc. v. Duguid, No. 19-
 8 511 (“Facebook”), as well as its hope that the Federal Communications Commission
 9 (“FCC”) will, at some point, issue some pronouncement as to its interpretation of the
10 definition of an automated telephone dialing system (“ATDS”), and that such
11 guidance may be helpful to its defense. [See ECF Nos. 23, 25 & 33.]
12          This Court should decline Square’s request to hold up this case in the hopes
13 that the law may someday become more favorable to its position. The law is clear
14 regarding what a plaintiff needs to allege and to prove to establish a TCPA violation,
15 including what constitutes an ATDS.1 See Marks v. Crunch San Diego, LLC, No.
16 14-56834, 2018 U.S. App. LEXIS 26883 (9th Cir. Sep. 20, 2018) (“Marks”). Square
17 cannot avoid liability under this binding precedent and so it seeks a stay hoping that
18 the Supreme Court will adopt a narrower ATDS definition. [But see ECF No. 33 at
19 9, Square’s Am. Mot. to Dismiss (stating that the subject texts were sent
20 “automatically”).]
21          All of the factors that courts consider in deciding whether to stay a case weigh
22 in favor of denial of Square’s request. First, Plaintiffs, the non-moving parties, would
23
24   1
            Square begins its Memorandum in Support of its Motion to Stay by misstating
25   the applicable law. [Compare ECF 42 at 1:9-12 (stating that “[t]o prevail on their
     claims under the TCPA, Plaintiffs must prove that Square sent them text messages
26   via an ATDS without their prior express consent.”), with, e.g., Van Patten v. Vertical
27   Fitness Grp., LLC, 847 F.3d 1037, 1044 (9th Cir. 2017) (“Express consent is not an
     element of a plaintiff’s prima facie case but is an affirmative defense for which the
28   defendant bears the burden of proof.”).
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 1 suffer damage or harm if the case is paused for any prolonged period of time.
 2 Although this case is in its relative infancy and the parties need to conduct
 3 discovery—including expert and third-party discovery, on among other things,
 4 Square’s transmission of unsolicited loyalty text messages, its allegations of consent,
 5 the conspicuousness of the disclosure, the system utilized to send the subject
 6 messages—the prejudice to both parties given a stay is considerable, including the
 7 potential loss of evidence and memories.
 8          These are not merely theoretical or possible harms; rather, for purposes of
 9 responding to Square’s Rule 12(b)(1) motion—which inexplicably challenges
10 Plaintiffs’ allegations that they did not consent at the pleading stage and without the
11 benefit of merits discovery on an issue for which Defendant unquestionably has the
12 burden of proof—Mr. Yu Shan Fung, the engineer manager for Square’s loyalty
13 team, recently testified as the FRCP 30(b)(6) deponent, that Square utilized third-
14 party vendor Twilio to send loyalty texts in 2017 until “sometime in 2018”
15 whereupon it started using Bandwidth, a different vendor. [See 08/07/20 Dep. Tr. of
16 Yu Shan Fung (“Fung Tr.”), at 15:1-6; 31:16-24; 32:13-15 & 32:22-25, attached to
17 the Declaration of Yana Hart (“Hart Dec.”), as Exhibit 1.] There is very little chance
18 that, in the case of Twilio, a former vendor will continue to hold onto texting records
19 of its former client, particularly given a stay of this case for many months if not years.
20          Second, there is no hardship or inequity to Square if required to go forward
21 with the case because irrespective of how the Supreme Court rules in Facebook, the
22 parties here will still need to conduct discovery, including expert discovery and
23 inspections, and brief the issue of whether the equipment utilized by Square to send
24 thousands and thousands of unsolicited loyalty text messages is an ATDS. Square
25 cannot point to any harm that it will suffer besides having to litigate this case, which
26
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 1 it will have to do today or one year2 from now when the Supreme Court issues its
 2 opinion.
 3          Third, as Judge Ryu recently observed in denying a similar stay request in a
 4 TCPA case, a stay pending a ruling in Facebook will not narrow the issues in this
 5 case nor promote the orderly course of justice in any conceivable manner. See
 6 Komaiko v. Baker Technologies, Inc., No. 19-cv-03795-DMR, at *5 (N.D. Cal. Aug.
 7 11, 2020) (“In sum, it is not clear that a reversal in Duguid would be dispositive in
 8 this case.”).
 9          Nor should this Court stay this case pending some possible action by the FCC.
10 Leaving aside the fact that there is no guarantee that the FCC is actually going to
11 promulgate new regulations and certainly not as to the timing, 3 there are many
12 additional reasons to deny Square’s request, chief among them—as Judge Bashant
13 noted in denying a similar stay request in Hoagland v. Axos Bank—is that a stay
14 would actually be injurious to both parties:
15                 Even assuming the FCC did issue new rulings, these
16                 rulings would once again be subject to review under
                   the Hobbs Act. Frankly, both parties would be
17                 damaged by this approach. There is no time limit
18                 as to when or whether the FCC will promulgate
                   such regulations or when or whether the courts will
19                 then review these newly promulgated regulations.
20                 Thus, the stay could be an indefinite one, leading to
                   a loss of evidence and memories and miscarriage of
21                 justice for all involved.
22
     2
23        Square asserts that the Supreme Court’s decision in Facebook “is expected in
   the first half of 2021, should resolve the split in authority and provide a uniform
24 definition of ATDS. [ECF 42 at 10:16-17.]
25
   3
          Unlike its prior request to stay, Square—in this iteration—largely tries to
26 sidestep the timing issue and meekly states, without any support whatsoever, the
27 FCC will issue some ATDS guidance “soon.” [Compare ECF 42 at 10:6, with ECF
   No. 25 at 8, 17 & 25 (stating that the “FCC’s new definition is expected soon, likely
28 before the end of 2020”).]
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                   Furthermore, it is not clear to the court that the
 1
                   promulgation of regulations, if they occurred,
 2                 would simplify or save judicial resources. First, the
                   Ninth Circuit has clearly ruled on the definition of
 3
                   an ATDS. This Court is bound by that ruling, even
 4                 when faced with a possible contradictory
 5                 regulation. Second, the possibility of a
                   contradictory regulation is so speculative that it
 6                 does not warrant the stay. Finally, it is not at all clear
 7                 that any regulation dealing with nonconsenting
                   parties would be applicable to this case. The FCC
 8                 has primarily focused on reassigned numbers as
 9                 opposed to numbers simply called in error. It is
                   unclear at this stage of the proceedings that any
10                 regulation would even be applicable to this case.
11
12          Hoagland, No. 19-cv-00750-BAS-JLB, at **6-7 (S.D. Cal. Feb. 6, 2020)

13 (emphasis added) (“Ultimately, the fact that there is no clear timeline, and, in fact,
14 there may not be new regulations promulgated by the FCC in the near future, leads
                                                                               4
15 the court to conclude that a stay at this stage would be inappropriate”). Or put
16 another way and as this Court observed in denying a similar request in Abante Rooter
17 & Plumbing Inc. v. Nationwide Mutual Insurance Company, “a stay is not warranted”
18 as the much ballyhooed FCC action will likely “not significantly narrow the disputed
19 issues, will not simplify the proceedings, and focused discovery will prepare a factual
20 record so that the legal issues can be resolved after ACA Int’l is decided.” No. 17-cv-
21 03328-EMC, at *5 (N.D. Cal. Jan. 26, 2018).
22      This Court should reject Square’s attempt to hold up these proceedings in the

23 off-chance that the FCC issues some perceived favorable guidance. Although Square
24   4
            Undaunted, and in hopes of avoiding Marks, Square stresses that the FCC
25   solicited additional comment on what constitutes an ATDS following the Ninth
     Circuit’s decision. But since then, the Ninth Circuit, in Duguid v. Facebook, Inc., 926
26   F.3d 1146, 1150 (9th Cir. 2019), confirmed that Marks is unquestionably the law of
27   the Ninth Circuit. In short, the state of the law is clear, Square just does not like it
     because its automated systems will clearly constitute an ATDS under the binding
28   precedent.
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 1 does not want to acknowledge it, controlling Ninth Circuit authority already resolves
 2 the relevant question and a stay will not simplify the issues in this case, while causing
 3 significant prejudice to Plaintiffs’ discovery process. In short, “[f]ar from advancing
 4 the orderly course of justice, a stay in this case would amount to ignoring binding
 5 Ninth Circuit authority on a mere possibility that the law may at some point change
 6 to [Defendant’s] benefit.” Pascal v. Concentra, Inc., No. 19-cv-02559-JCS, 2019
 7 U.S. Dist. LEXIS 185193 (N.D. Cal. Oct. 24, 2019) (citing Larson v. Harman Mgmt.
 8 Corp., No. 1:16-cv-00219-DAD-SKO, 2018 U.S. Dist. LEXIS 208121, at *16 (E.D.
 9 Cal. Dec. 10, 2018) (holding that “[a]lthough future action by the FCC may
10 ultimately impact the applicable law…the imposition of a stay would provide little
11 benefit to the orderly course of justice” because “the Ninth Circuit has already
12 decided what constitutes an ATDS and other district courts in this circuit have applied
13 that binding authority.”).
14   II.    RELEVANT BACKGROUND
15          On February 3, 2020, representative Plaintiffs Mishari Aleisa and Nicole
16 Belluomini commenced this class action lawsuit by filing a complaint alleging that
17 Square sought to capitalize on the tremendous amount of consumer information it
18 acquires by processing credit and debit card transactions by launching an add-on
19 loyalty service for its seller clients. See ECF No. 1, Comp., ¶¶ 1-13 & 32-92. As
20 alleged in the Complaint, Square—no stranger to data privacy issues—associated the
21 payment card information customers used to complete transactions with the mobile
22 phone numbers provided to obtain digital receipts and then sent consumers thousands
23 of unsolicited “loyalty” text messages in violation of the TCPA. Id. These loyalty
24 text messages were sent by Square on behalf of its seller clients (those small
25 businesses that use Square’s point of sale (“POS”) hardware and software to process
26 payment card transactions), and Square was paid based on the volume of text
27 messages sent. Id., ¶ 8.
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 1          On April 17, 2020, Square filed a motion to dismiss pursuant to FRCP 12(b)(1)
 2 contending that this Court was without subject matter jurisdiction to adjudicate
 3 Plaintiff Nicole Belluomini’s claim because she lacked Article III standing because
 4 she supposedly consented to receiving the loyalty text at issue and she (inexplicably)
 5 sent the loyalty text to herself. [See ECF No. 23.]5
 6          On May 11, 2020, Square filed its first motion to stay under the primary
 7 jurisdiction doctrine pending the FCC’s “clarification” as to the definition of ATDS.
 8 [ECF No. 25.] On May 14, 2020, Plaintiffs—in order to respond to the motion to
 9 dismiss served jurisdictional discovery on Square.
10          Approximately five weeks later, on July 2, 2020, Square filed an Amended
11 Motion to Dismiss, changing their own uncontested “facts” through an amended
12 declaration setting now different “facts.” ECF No. 33. On July 20, 2020, this Court
13 granted a Stipulation to continue the Hearing for Square’s Pending motions and to
14 modify the briefing schedule on Square’s amended motion to dismiss. ECF No. 36.
15 Thereafter, Square’s additional co-counsel filed appearances, [ECF Nos. 37-40], and
16 Square served interrogatories, request for the production of documents and for
17 inspection on Plaintiffs, seeking information and documents beyond the scope of
18 originally set jurisdictional discovery. Square then filed an amended motion
19 requesting a stay pending the Supreme Court’s decision in Facebook and/or FCC’s
20 definition of ATDS. [ECF No. 42.]
21 III.     LEGAL STANDARDS
22          A.     THE COURT’S INHERENT AUTHORITY.
23          A district court’s “power to stay proceedings is incidental to the power inherent
24 in every court to control the disposition of the causes on its docket with economy of
25
26   5
          Square inexplicably did not respond to Plaintiff Aleisa’s claims by the thrice-
27 extended deadline of April 17, 2020, but rather unilaterally and arbitrarily waited
   until July 1, 2020 to file an Answer as well as numerous inapplicable and
28 insufficiently pled affirmative defenses. [See ECF 32.]
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 1 time and effort for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299
 2 U.S. 248, 254 (1936). The inherent power of district courts to grant stays “calls for
 3 the exercise of sound discretion,” by which a court must weigh the competing
 4 interests of the parties that would be affected by a grant or denial of a stay. CMAX,
 5 Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962). “The party requesting a stay bears the
 6 burden of showing that the circumstances justify an exercise of that discretion.” Nken
 7 v. Holder, 556 U.S. 418, 433-34 (2009) (citing Clinton v. Jones, 520 U.S. 681, 708
 8 (1997)); Rose v. Sw. Credit Sys., L.P., No. CV-15-4998-MWF (PLA), 2015 U.S. Dist.
 9 LEXIS 195291, at *5 (C.D. Cal. Nov. 30, 2015) (quoting Landis v. N. Am. Co., 299
10 U.S. 248, 255-56 (1936)).
11          The Ninth Circuit identifies three competing interests to evaluate in deciding
12 whether to grant a motion to stay: (i) “the possible damage which may result from
13 granting a stay;” (ii) “the hardship or inequity upon the moving party being required
14 to go forward” after denial of the stay and (iii) “the orderly course of justice measured
15 in terms of the simplifying or complicating of issues, proof and questions of law that
16 could be expected to result from a stay.” See CMAX, Inc., 300 F.2d at 268 (emphasis
17 added); In re Midland Credit Mgmt. Tel. Cons. Prot. Act Litig., No. 11-md-2286-
18 MMA (MDD), at *3 (S.D. Cal. Aug. 1, 2020) (denying joint motion to stay pending
19 Facebook appeal).
20          “When weighing the relevant interests, the court must be mindful that ‘if there
21 is even a fair possibility that the stay for which [the movant] prays will work damage
22 to someone else,’ then the movant ‘must make a clear case of hardship or inequity in
23 being required to go forward.’” Rose, 2015 U.S. Dist. LEXIS 195291, at *5 (quoting
24 Landis, 299 U.S. at 255). “[B]eing required to defend a suit, without more, does not
25 constitute a ‘clear case of hardship or inequity’ within the meaning of Landis.” Rose,
26 2015 U.S. Dist. LEXIS 195291, at *5 (quoting Lockyer v. Mirant Corp., 398 F.3d
27 1098, 1112 (9th Cir. 2005).
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 1          B.     THE PRIMARY JURISDICTION DOCTRINE.
 2          The primary jurisdiction doctrine allows courts to stay proceedings or to
 3 dismiss a complaint without prejudice pending the resolution of an issue within the
 4 special competence of an administrative agency. See, e.g., Clark v. Time Warner
 5 Cable, 523 F.3d 1110, 1114 (9th Cir. 2008). This doctrine allows the Court to
 6 determine that “an otherwise cognizable claim implicates technical and policy
 7 questions that should be addressed in the first instance by the agency with regulatory
 8 authority over the relevant industry rather than by the judicial branch.” Id. (citation
 9 omitted). Resort to agency guidance should be done sparingly; “it is to be used only
10 if a claim requires resolution of an issue of first impression, or of a particularly
11 complicated issue that Congress has committed to a regulatory agency, and if
12 protection of the integrity of a regulatory scheme dictates preliminary resort to the
13 agency which administers the scheme.” Id. (internal quotations & citations omitted).
14 IV.      ARGUMENT
15          A.     BINDING NINTH CIRCUIT PRECEDENT WARRANTS DENIAL                       OF THE

16                 STAY
17          As held by the Ninth Circuit, the TCPA defines an ATDS to include equipment
18 that “stores numbers and dials them automatically to send text messages to a stored
19 list of phone numbers as part of scheduled campaigns.” Marks v. Crunch San Diego,
20 LLC, 904 F.3d 1041, 1053 (9th Cir. 2018). “[S]ince then, the Ninth Circuit has
21 confirmed that Marks is the law of the Ninth Circuit.” Izor v. Abacus Data Sys., Inc.,
22 No. 19-CV-01057-HSG, 2019 WL 3555110, at *3 (N.D. Cal. Aug. 5, 2019) (citing
23 Duguid v. Facebook, Inc., 926 F.3d 1146, 1150 (9th Cir. 2019) (holding that the
24 Marks’ “definition governs this appeal”)).
25          In requesting a stay, Square brazenly asks this Court to ignore binding Ninth
26 Circuit precedent simply because the law is not favorable to its case. [ECF 42 at 4:4-
27 6.] However, like it or not, Marks is controlling precedent and must be followed;
28 “[h]owever, until the Supreme Court renders a decision, this Court is bound by Ninth
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 1 Circuit precedent.” Loritz v. CMT Blues, No. 01cv2313 BTM(POR), 2003 U.S. Dist.
 2 LEXIS 17127, at *9 (S.D. Cal. Sep. 29, 2003); see also Doe v. Trump, 284 F. Supp.
 3 3d 1182, 1185 (W.D. Wash. 2018) (“Once the Ninth Circuit decides an issue in a
 4 precedential opinion, the matter is resolved, unless the Ninth Circuit sitting en banc
 5 or the Supreme Court overrules the decision or Congress changes the law.”) (citing
 6 Hart v. Massanari, 266 F.3d 1155, 1171 & n.28 (9th Cir. 2001)).
 7          The Supreme Court’s hypothetical decision in Facebook which will likely be
 8 pending until mid-next year at best, is not a guarantee that the Court will issue any
 9 definitive guidance as to what constitutes an ATDS. See, e.g., R & L Ltd. Invs. Inc.
10 v. Cabot Inv. Props., Ltd. Liab. Co., No. CV 09-1575-PHX-MHM, 2010 U.S. Dist.
11 LEXIS 107488, at *2 (D. Ariz. Sep. 21, 2010) (denying a staying because “this Court
12 is bound by actual precedent, not hypothetical precedent”); Loritz, 2003 U.S. Dist.
13 LEXIS 17127, at *9 (“Defendant suggests that the Court stay this action until the
14 Supreme Court renders its decision. The Court declines to do so.”); United States v.
15 Shumilo, No. CR 09-939-GW-51, 2016 U.S. Dist. LEXIS 152818, at *4 (C.D. Cal.
16 Oct. 24, 2016) (“Petitioner further points out that the fact that the Supreme Court
17 recently granted certiorari in Dimaya has no effect on this Court’s obligation to
18 follow Ninth Circuit precedent unless and until the Supreme Court overrules it.”)
19 (citing Hart, 266 F.3d at 1170 (“Binding authority must be followed unless and until
20 overruled by a body competent to do so.”)); Reed v. Autonation, Inc., No. CV-16-
21 08916-BRO-AGRX, 2017 U.S. Dist. LEXIS 224055, 2017 WL 10592157, at *5
22 (C.D. Cal. Mar. 6, 2017) (Until the Supreme Court decides a pending case, “we must
23 respect the holdings of our court of appeals.”); United States v. Cortez-Ruiz, 2016
24 U.S. Dist. LEXIS 167789, 2016 WL 7034057, at *10 (N.D. Cal. Dec. 2, 2016)
25 (denying request for stay pending United States Supreme Court’s review of Dimaya
26 v. Lynch, 803 F.3d 1110 (9th Cir. 2015), after petition for writ of certiorari had been
27 granted); Facebook, Inc. v. Power Ventures, Inc., 2017 U.S. Dist. LEXIS 66948,
28 2017 WL 1650608, at *18 (N.D. Cal. May 2, 2017) (denying request for stay of
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 1 remedies issue pending a petition for writ of certiorari of Ninth Circuit's merit
 2 decision); Alvarado v. United States, 2016 U.S. Dist. LEXIS 152813, 2016 WL
 3 6302517, at *5 (C.D. Cal. Oct. 14, 2016) (denying a stay because “until the Supreme
 4 Court rules on these issues, the Court must follow the Ninth Circuit’s precedent”).
 5          Square is not the first defendant accused of violating the TCPA to seek a stay
 6 pending Facebook. In Komaiko v. Baker Technologies, Inc., defendant initially
 7 moved to stay the case pending another Supreme Court decision involving the TCPA,
 8 as well as indeterminate FCC action and then pending Facebook. See No. 19-cv-
 9 03795-DMR, at *3 (N.D. Cal. Aug. 11, 2020) (stating that defendant’s motion
10 “initially requested a stay of th[e] case until the Supreme Court issued a decision in
11 [Barr] and [Facebook].”)
12          As with Square, defendant Baker contended that the ATDS issue before the
13 Supreme Court in Facebook would be dispositive. In denying the requested stay,
14 Judge Ryu observed that the capacity question would be left untouched by the
15 Supreme Court’s Facebook decision and even the circuits with a restrictive view of
16 ATDS recognize that the TCPA “applies to devices that have the ‘capacity’ to
17 identify randomly generated numbers:
18                 However, [Defendant] is evasive on a key fact:
19                 whether its software has the capacity to generate
                   random numbers and call them, regardless of
20                 whether it used that capacity in sending the texts at
21                 issue.
22                 This is a separate question from one before the
23                 Supreme Court in Duguid. Even if the Ninth Circuit
                   is incorrect that a device that can store and
24                 automatically dial numbers is an ATDS, such a
25                 conclusion would not necessarily invalidate its
                   interpretation of the term ‘capacity.’
26
27          Id. at *4 (emphasis in original); see also Id. at *6 (“Under existing Ninth
28 Circuit authority not before the Supreme Court, the relevant consideration is whether
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 1 a device has the capacity to perform as an autodialer, not whether it used that capacity
 2 to send the allegedly unlawful texts.”) (citation omitted); In re Midland Credit Mgmt.
 3 Tel. Cons. Prot. Act Litig., No. 11-md-2286-MMA (MDD), at *4 (S.D. Cal. Aug. 1,
 4 2020) (denying joint motion to stay pending Facebook appeal; “[t]he parties
 5 potentially overstate the impact of the Supreme Court case given the current
 6 procedural standing of this MDL.”).6
 7          B.     ALL LANDIS FACTORS REQUIRE DENIAL                     OF   SQUARE’S STAY
 8                 REQUEST
 9          While Square spends an inordinate amount of space setting forth Plaintiffs’
10 allegations, the procedural background of the case, the “relevant legal history behind
11 the TCPA and ATDS Requirement,” its Motion is noticeably bereft of any
12 meaningful discussion of the Landis factors. See ECF 42 at 1-12. That is unsurprising
13 given that Square’s equipment sends messages without any human intervention,
14 [Def.’s Mtn. Dismiss] and unless the Supreme Courts simply decides to eviscerate
15 the TCPA, Square has no defense regarding its ATDS. And, then when finally Square
16 does get around to discussing the prejudice to Plaintiffs if given a stay, it erroneously
17 states that that “very little substantive work has been done” and that “only
18 preliminary discovery is underway.” ECF 42 at 13:17-22 (emphasis added.) On the
19 contrary, the parties served jurisdictional discovery, conducted Square’s deposition,
20 are briefing Square’s amended motion to dismiss for lack of Article III standing, and
21 Square has served interrogatories, requests for production and for inspection on both
22 representative plaintiffs which go beyond the issue of standing. (See Declaration of
23 Yana Hart, at ¶ 12.) Moreover, Square disingenuously attempts to shift the focus
24
25
     6
         After concluding that defendant “did not adequately explain[] how the
26 outcome in [Facebook] is likely to have a significant impact in th[e] case,” Judge
27 Ryu restricted discovery “to the question of whether the ATDS allegedly used to send
   text messages to the named Plaintiffs had the capacity to store and produce numbers
28 using a random or sequential number generator.”
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 1 from the actual prejudices to befall Plaintiffs, infra, to its contrived harm of waiting
 2 to receive statutory damages under the TCPA. (See ECF 42 at 14:3-17.)
 3               i.       Substantial Prejudice to Plaintiffs Warrants Denial of a Stay.
 4          Numerous injuries would befall Plaintiffs if this case were stayed pending
 5 Facebook and/or indeterminate FCC action. First, Defendant completely ignores the
 6 fact that Plaintiffs and the class members would be significantly disadvantaged by
 7 this unknown and indefinite delay in conducting discovery. Many documents and
 8 evidence are under the control of third parties, who are not obligated to preserve such
 9 evidence. [See Hart Dec., Exh. 1 (testifying that Square used different vendors for
10 loyalty texting); see also LG Elecs., Inc. v. Eastman Kodak Co., 09-cv-344, 2009 WL
11 1468703, at *3 (S.D. Cal. May 26, 2009).
12          The recent deposition testimony of Square’s loyalty program engineer, Mr. Yu
13 Shan Fung, confirms the risk of loss of evidence given a stay. Mr. Fung testified that
14 Square retained third party Twilio to send loyalty texts in 2017 until “sometime in
15 2018” whereupon it started using Bandwidth, a different vendor, to send loyalty texts.
16 See Fung Tr., at 15:1-6; 31:16-24; 32:13-15 & 32:22-25, Hart Dec., Exh. 1. There is
17 very little chance that, in the case of Twilio, a former vendor will continue to hold
18 onto texting records of its former client, particularly given a stay of this case for many
19 months if not years.
20          Additionally, and in order to verify if there have been more text messages other
21 than those listed in the complaint,7 Plaintiffs will need to subpoena their carriers.
22
     7
23          Despite Square’s insistence that Plaintiff Belluomini only received one text
     and therefore lacks standing (based on an out-of-Circuit case), the recent deposition
24   of Mr. Fung indicates that Ms. Belluomini did, in fact, receive multiple messages
25   from Square. [See Fung Tr. at 64:24-65:4; 65:20-22; 73:3-8; 73:16-20 & 105:25-
     106:2 (stating that he did not know if Ms. Belluomini received a digital text receipt
26   or any welcome text messages from Square).] Further, Mr. Fung testified that Square
27   generally sends two initial messages – a “welcome” text message and a separate
     loyalty message regarding earning a loyalty star. [Fung Tr. [48:4-14; 71:11-72:10
28   (stating that the policy is/was that a welcome message is sent every time, and stating
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 1 (See Hart Decl., ¶ 13.) While the statute of limitations in TCPA actions is four years,
 2 Plaintiffs will struggle in obtaining text message logs from third party carriers
 3 because carriers’ average retention period of text message logs (without content) is
 4 approximately 18-24 months, and therefore, obtaining such logs is already
 5 burdensome to Plaintiffs and the putative Class members.8
 6          Memories of witnesses fade, and documents inevitably become misplaced or
 7 otherwise unobtainable given the passage of time. See, e.g., Abante Rooter &
 8 Plumbing Inc. v. Nationwide Mut. Ins. Co., No. 17-cv-03328-EMC, at *5 (N.D. Cal.
 9 Jan. 26, 2018) (holding that “witness memories may fade, turnover of employees at
10 [defendant] may result in diminished access to material witnesses, and it may become
11 more difficult to locate and notify putative class members as time lapses). A stay,
12 even a relatively brief one, could result in the irretrievable loss of critical evidence.
13 See, e.g., Lathrop v. Uber Techs.,, Inc., 2016 U.S. Dist. LEXIS 2490, at *12
14 (“Plaintiffs argue persuasively that they would suffer prejudice from a stay because
15 the case would extend for an indeterminate length of time, increase the difficulty of
16 reaching class members, and increase the risk that evidence will dissipate.”); Young
17 v. Peraza, No. 15-60968-CIV--COHN/SELTZER, 2015 U.S. Dist. LEXIS 101844 at
18 *5 (S.D. Fla. Aug. 4, 2015) (“Were the Court to grant the Motion [to stay], Plaintiff
19 would stand to suffer prejudice as the memories of eyewitnesses faded with the
20 passage of time.”).
21          “Thus, to require Plaintiff to remain in this indeterminate state of limbo is
22 especially inequitable given that much of the relevant evidence Plaintiff will be
23 interested in, such as call logs and dialer information, will be in the hands of third-
24
25 he is not aware of any policy changes]; cf. Compl. ¶ 85 (Belluomini received the
   loyalty message).
26
     8
27        Retention Periods of Major Cellular Service Providers Chart from the U.S.
   Department of Justice (available at https://www.aclu.org/cell-phone-location-
28 tracking-request-response-cell-phone-company-data-retention-chart)
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 1 parties and subject to unknown data retention policies.” Montegna v. Ocwen Loan
 2 Servicing, LLC, No. 17-CV-00939-AJB-BLM, 2017 U.S. Dist. LEXIS 172713, at
 3 *15 (S.D. Cal. Oct. 18, 2017); see also Cabiness v. Educ. Fin. Sols., LLC, No. 16-cv-
 4 01109-JST, 2017 U.S. Dist. LEXIS 6304, at *9 (N.D. Cal. Jan. 17, 2017) (“Such an
 5 extended stay would prejudice the Plaintiff because the passage of time will make it
 6 more difficult to reach class members and will increase the likelihood that relevant
 7 evidence will dissipate.”); D.C. v. Cty. of San Diego, No. 15cv1868-MMA (NLS),
 8 2017 U.S. Dist. LEXIS 57736, at *12 (S.D. Cal. Apr. 14, 2017) (“Also, Plaintiff
 9 argues that the contact information for putative class members continues to become
10 outdated with time, indicating that there is a risk that putative class members might
11 not receive notice if a class is eventually certified. This could potentially result in
12 denial of monetary recovery to those class members, as opposed to only delay.”).
13          Second, Square continues to operate its loyalty program whereby it collects
14 consumers mobile numbers and sends them unsolicited loyalty text messages absent
15 “clear and conspicuous” disclosure, as required under the law. The injuries to
16 Plaintiffs and the putative class members are ongoing. While Square is quick to gloss
17 over the harm to Plaintiff and the class members, “unduly delaying a plaintiff’s day
18 in court constitutes a significant injury.” Ontiveros v. Zamora, 2013 U.S. Dist.
19 LEXIS 59621, at *13 (E.D. Cal. Apr. 25, 2013). In a class action, “the possible
20 damage and prejudice to Plaintiff that may result from staying the case” is significant
21 because a stay “would suspend for an indefinite period of time Plaintiff’s
22 opportunity—and the opportunity of the putative class—to vindicate their rights
23 before [the] court.” O'Hanlon v. 24 Hour Fitness USA, Inc., No. 15-cv-01821-BLF,
24 2016 U.S. Dist. LEXIS 27509, at *14 (N.D. Cal. Mar. 2, 2016).
25          Third, there is no basis for Square’s pure speculation that the FCC will act
26 before year-end as many courts have found the similarly requested stays run a serious
27 risk of being “essentially indefinite, since there is no clear indication that any FCC
28 action is on the horizon.” Larson v. Harman Mgmt. Corp., Case No. 1:16-cv-00219-
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 1 DAD-SKO, 2018 U.S. Dist. LEXIS 208121, 2018 WL 6459964, at *4 (E.D. Cal.
 2 Dec. 10, 2018) (rejecting the same basis for a stay and explaining how a stay could
 3 “indefinitely delay resolution” of the case); Edwards v. Oportun, Inc., 193 F. Supp.
 4 3d 1096, 1101 (N.D. Cal. 2016) (finding an indefinite stay presents a “fair possibility
 5 of harm” to plaintiff); Lathrop v. Uber Techs., Inc., Case No. 14-cv-05678-JST, 2016
 6 U.S. Dist. LEXIS 2490, 2016 WL 97511, at *4 (N.D. Cal. Jan. 8, 2016) (plaintiffs in
 7 putative class action may “suffer prejudice from a stay because the case would extend
 8 for an indeterminate length of time, increase the difficulty of reaching class members,
 9 and increase the risk that evidence will dissipate”); Izor, 2019 WL 3555110, at *10
10 (“Given the possible indefiniteness of a stay, the first Landis factor counsels against
11 granting a stay.”).
12               ii.      There is not sufficient prejudice in being required to litigate
13          Given that Plaintiffs have demonstrated a “fair possibility” of harm that could
14 result from an indefinite stay, Square is required under Landis to “make out a clear
15 case of hardship or inequity in being required to go forward.” See, e.g., Izor, 2019
16 WL 3555110, at *10 (citing Landis, 299 U.S. at 254-55). The primary hardship
17 Square claims it will suffer if a stay is not granted is the time and expense of litigating
18 this case, which courts have repeatedly held is an insufficient basis to stay
19 proceedings. [Compare ECF No. 42 at 14:21-23 (stating that in the absence of a stay,
20 the parties will have to expend time and money litigating the case), with, e.g., Lockyer
21 v. Mirant Corp., 398 F.3d 1098, 1112 (9th Cir. 2005) (“[B]eing required to defend a
22 suit, without more, does not constitute a ‘clear case of hardship or inequity’ within
23 the meaning of Landis.”); Crooks v. Rady Children’s Hosp., 2017 U.S. Dist. LEXIS
24 168085 *10 (S.D. Cal. Oct. 10, 2017) (“Defendant's contention that it will suffer
25 hardship if the action is not stayed due to unnecessary discovery and trial preparation
26 does not justify a stay in this case.”); Salazar v. Cty. of L.A., No. CV-15-09003-
27 MWF-JC, 2016 U.S. Dist. LEXIS 190608, at *19 (C.D. Cal. Sep. 26, 2016) (“the
28 time and expense of wasted discovery is a legitimate concern, ‘it does not outweigh
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 1 the risk that a stay pending the related proceedings’ resolution would simply delay
 2 Plaintiffs' day in Court.”) (citation omitted); Rose, 2015 U.S. Dist. LEXIS 195291,
 3 at *5 (“[B]eing required to defend a suit, without more, does not constitute a ‘clear
 4 case of hardship or inequity’ within the meaning of Landis.”); Lathrop, 2016 U.S.
 5 Dist. LEXIS 2490, at *12 (“Although Uber may suffer hardship, in the form of
 6 additional discovery, the Court concludes that this potential hardship does not merit
 7 a stay in this case.”); Larson, 2018 U.S. Dist. LEXIS 208121, 2018 WL 6459964, at
 8 *5 (“Where defendants have not identified any specific harm beyond the cost of
 9 litigation, it has been held that ‘being required to defend a suit, without more, does
10 not constitute a ‘clear case of hardship or inequity’ within the meaning of Landis.’”)
11 (quoting Lockyer, 398 F.3d at 1112).
12          The rule that the cost of litigation is insufficient prejudice to warrant a stay
13 rings particularly true here because Square will be required to litigate this case
14 irrespective of how the Supreme Court rules in Facebook. Square fails to explain
15 how this issue will increase discovery costs as the parties will nonetheless have to
16 conduct discovery on the system used by Square to send the text messages at issue.
17 The parties will need the same discovery regardless of how the Facebook appeal turns
18 out and regardless of whether or not the FCC eventually comments on the definition
19 of the ATDS. Moreover, the suggestion that it would be inequitable for this case to
20 proceed is undermined by both Marks and Duguid, as in each case the Ninth Circuit
21 remanded for further proceedings, apparently anticipating that the cases would go
22 forward. See Izor v. Abacus Data Sys., Inc., No. 19-cv-01057-HSG, at *11 (citing
23 Marks, 904 F.3d at 1053; Duguid, 926 F.3d at 1157).
24          Square also suggests that it could be prejudicial to require it to defend this case
25 when the law might change in the future. However, courts have addressed and
26 rejected the very argument, including Judge Guilliam in Izor:
27                 The mere possibility of intervening law on a simple factual
28                 issue, particularly when the Ninth Circuit has already
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                   reaffirmed Marks, does not amount to a ‘clear case of
 1
                   hardship or inequity in being required to go forward.’And
 2                 the notion that it would be inequitable for this case to
                   proceed is undermined by both Marks and Duguid, as in
 3
                   each case the Ninth Circuit remanded for further
 4                 proceedings, apparently anticipating that the cases would
 5                 go forward.

 6          2019 U.S. Dist. LEXIS 130865, at *11 (citations omitted); see also Pascal v.
 7 Concentra, Inc., No. 19-cv-02559-JCS, at *5 (N.D. Cal. Oct. 24, 2019) (“In light of
 8 the hardship associated with an indefinite stay, Concentra must make a clear showing
 9 of hardship in the absence of a stay (the second factor), but it has not done so.”).
10           iii.      A stay would undermine the orderly course of justice
11          Square understandably does not spend much time arguing that a stay would
12 somehow enhance the orderly course of justice presumably because, simply put, it
13 would not. Square complains that “[g]oing forward with this case now would require
14 extensive discovery and motion practice, attorneys’ fees and costs, and judicial
15 resources.” ECF No. 42 at 15. Fatal to Square’s request for a stay is its failure to
16 explain how or why a stay would promote the orderly course of justice.
17          Courts have consistently rejected such vague, hypothetical and unsupported
18 predictions advanced to support requests for stays. See, e.g., Pascal, 2019 U.S. Dist.
19 LEXIS 185193, at *10 (“Far from advancing the orderly course of justice, a stay in
20 this case would amount to ignoring binding Ninth Circuit authority on a mere
21 possibility that the law may at some point change to [Defendant’s] benefit.”). Indeed,
22 this Court has already ruled in a similar case that “[t]he orderly course of justice will
23 be enhanced because development of the record on key facts may expedite and
24 facilitate the application of law, including that pronounced by the Circuit Court in
25 ACA Int’l.” Abante Rooter & Plumbing Inc. v. Nationwide Mut. Ins. Co., No. 17-cv-
26 03328-EMC, at *4-5 (N.D. Cal. Jan. 26, 2018); see also Pedro-Salcedo v. Haagen-
27 Dazs Shoppe Co., Inc., 2017 U.S. Dist. LEXIS 168532, 2017 WL 4536422, at *8
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 1 (N.D. Cal. Oct. 11, 2017) (declining to stay case pending opinion because of the
 2 inability to forecast when a final decision will be rendered, whether it will be
 3 dispositive of the case or even narrow the issues).
 4          In addition to Square’s “lack of clarity” as to why it believes Facebook will
 5 have any impact on this case, Defendant ignores that the Supreme Court’s decision
 6 will do nothing to change the fact that the parties will still have to conduct discovery
 7 into the text messaging platform utilized, including expert inspections, reports, and
 8 depositions and will have to brief the issue. Therefore, irrespective of how the
 9 Supreme Court rules, the same discovery and briefing will have to take place. This
10 was the same issue many courts faced years ago when TCPA defendants filed
11 countless requests for stays pending the D.C. Circuit’s decision in ACA International
12 v. FCC, 885 F.3d 687 (D.C. Cir. 2018).9
13          In short, Square’s request should be rejected because “entering a stay under
14 the circumstances here would undermine the orderly course of justice.” Pascal v.
15 Concentra, Inc., No. 19-cv-02559-JCS, at *6-7 (N.D. Cal. Oct. 24, 2019) (emphasis
16 supplied); see also Larson v. Harman Mgmt. Corp., 2018 WL 6459964, at *5
17 (holding that “[a]lthough future action by the FCC may ultimately impact the
18 applicable law … the imposition of a stay would provide little benefit to the orderly
19 course of justice” because “the Ninth Circuit has already decided what constitutes an
20 ATDS and other district courts in this circuit have applied that binding authority.”);
21 Yashtinsky v. Walmart, Inc., No. 5:19-CV-5105, at *14 (W.D. Ark. Nov. 12, 2019)
22 (declining “to issue a stay pursuant to its inherent authority because such a stay would
23
24   9
           In those cases, most of the courts denied stays for the same reason advanced
25   by Plaintiffs here, namely, that a stay would not promote efficient litigation because
     defendants would still be required to engage in discovery and motion practice on the
26   ATDS issue. See, e.g., Mendez v. Optio Sols., LLC, 239 F. Supp. 3d 1229, 1234
27   (S.D. Cal. 2017) (denying a stay because even though ACA might have “ha[d] the
     potential to clarify what constitutes an ATDS,” the defendant would “still be
28   required to produce discovery” concerning “its autodialing technology”).
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 1 not promote judicial economy and would unduly prejudice [plaintiff].”); Samson v.
 2 United Healthcare Servs., Inc., No. C19-0175JLR, at *12 (W.D. Wash. May 20,
 3 2019) (“Nonetheless, the court declines to run the risk of significantly postponing its
 4 consideration of claims it is competent to adjudicate.”).
 5          C.     THE PRIMARY JURISDICTION DOCTRINE DOES NOT APPLY BECAUSE
 6                 THE   STATUTORY DEFINITION         OF AN    ATDS    IS   NOT   A   MATTER   OF

 7                 FIRST IMPRESSION & CONTROLLING LAW EXISTS.
 8          Square also argues that the primary jurisdiction doctrine should be invoked
 9 because forthcoming FCC guidance may be at odds with the state of the law in the
10 Ninth Circuit, and that any FCC pronouncement will basically be the definitive
11 statement on an ATDS (unless, of course, the FCC’s guidance is not favorable to
12 Square). ECF No. 42 at 15-19.
13          As an initial matter, Square’s primary jurisdiction request should be denied
14 because the FCC has not stated if nor when it will issue any clarifying regulations
15 regarding ATDS:
16                 Because the Court can discern no clear end point for
17                 obtaining such guidance from the FCC, it declines
                   to stay the case under the primary jurisdiction
18                 doctrine. The FCC has been wrestling with the
19                 definition of ATDS for six years with no clear
                   conclusion in sight.
20
21 Boger v. Citrix Sys., Civil Action No. 8:19-cv-01234-PX, at *6 (D. Md. Apr. 22,
22 2020).
23          Square’s repeated misstatement that a stay would necessarily be brief because
24 FCC action is expected “soon” is transparently self-serving and entirely speculative.
25 See also Gould v. Farmers Ins. Exch., Case No. 4:17 CV 2305 RWS, 2018 U.S. Dist.
26 LEXIS 131508, at *4 (E.D. Mo. Aug. 6, 2018) (stating that “the FCC has not
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 1 indicated whether it will pursue a formal rulemaking or some other proceeding
 2 following the collection of comments on this issue”).10
 3          More fundamentally, Square spends several pages arguing that the FCC is the
 4 expert on ATDS, and therefore courts are essentially incapable of deciphering fairly
 5 straightforward statutory language. [See ECF No. 42 at 17-19.] Square’s argument
 6 that interpreting the TCPA is an issue that this Court cannot resolve without future
 7 guidance from the FCC is wholly inaccurate, misconceived, self-serving, and
 8 contradicts the plain principles of the well-known stare decisis doctrine.
 9          The definition of an ATDS does not involve a technical or policy consideration
10 within the FCC’s particular field of expertise since the Ninth Circuit has already
11 stated that the statutory language is clear and unambiguous. See, e.g., Harnish v.
12 Frankly Co., Case No. 5:14-CV-02321-EJD, 2015 U.S. Dist. LEXIS 29982, 2015
13 WL 1064442, at *11 (N.D. Cal. Mar. 11, 2015) (citing Satterfield v. Simon &
14 Schuster, Inc., 569 F.3d 946, 951 (9th Cir. 2009)); Wilson v. PL Phase One
15 Operations L.P., Civil Action No. DKC 18-3285, at *25 (D. Md. Sep. 27, 2019)
16 (stating that referral to the FCC is “not appropriate” since the matters are “within the
17 conventional expertise of judges”)).
18          FCC guidance is not critical to the courts’ functions in interpreting the statute,
19 as reflected in scores of decisions involving ATDS technology reached during the
20 pendency of the FCC ruling (many of which have found an ATDS to not be present
21 in the particular case). See, e.g., Duran v. La Boom Disco, Inc., No. 19-600-cv, at
22 *12 (2d Cir. Apr. 7, 2020) (“On de novo review, we conclude, for several reasons,
23 that the second approach to the statute’s interpretation is correct, and that the
24 programs here have the first capacity required to be ATDSs—the “capacity … to
25
     10
         Adding to the uncertainty, President Trump recently withdrew the re-
26 nomination of Commissioner O’Reilly further suggesting that any FCC action on
27 ATDS is a ways off, if ever. See https://www.reuters.com/article/us-usa-fcc-
   trump/trump-withdraws-nomination-of-republican-fcc-commissioner-to-serve-new-
28 term-idUSKCN24Z2NI (last visited August 28, 2020).
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 1 store or produce telephone numbers to be called, using a random or sequential
 2 number generator[.]’”); Gadelhak v. AT&T Servs., Inc., No. 19-1738, 2020 WL
 3 808270, at *1 (7th Cir. 2020); Dominguez v. Yahoo, Inc., 894 F.3d 116, 121 (3d Cir.
 4 2018); Boger v. Citrix Sys., Civil Action No. 8:19-cv-01234-PX, at *6-7 (D. Md.
 5 Apr. 22, 2020) (“Because the Court can discern no clear end point for obtaining such
 6 guidance from the FCC, it declines to stay the case under the primary jurisdiction
 7 doctrine.”).
 8          In deciding against issuing a stay in a nearly identical situation, Judge
 9 Haywood S. Gilliam, Jr. recently considered whether expected FCC guidance on the
10 definition of ATDS supported a stay under the primary jurisdiction doctrine:
11                 The Court finds that the primary jurisdiction
12                 doctrine does not support a stay pending FCC
                   guidance concerning what constitutes an ATDS.
13                 As Defendant notes in its motion, the FCC released
14                 a Public Notice seeking comment on the issue in
                   May 2018.
15
                   But the Ninth Circuit has since definitively
16
                   answered the question. Marks v. Crunch San
17                 Diego, LLC held that the term ATDS “means
18                 equipment which has the capacity—(1) to store
                   numbers to be called or (2) to produce numbers to
19                 be called, using a random or sequential number
20                 generator—and to dial such numbers automatically
                   (even if the system must be turned on or triggered
21                 by a person).
22                 Marks issued on September 20, 2018, months after
23                 the FCC began seeking public comments on the
                   what constitutes an ATDS. Marks thus is
24                 controlling authority in the Ninth Circuit and is
25                 binding on the Court. And the Ninth Circuit’s
                   resolution of the issue without waiting for FCC
26                 guidance further demonstrates that the issue (1) is
27                 no longer a matter of first impression, and (2) is not
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                   ‘a particularly complicated issue that merits waiting
 1
                   for FCC guidance.
 2
 3 Izor v. Abacus Data Sys., Case No. 19-cv-01057-HSG, 2019 U.S. Dist. LEXIS
 4 130865, 2019 WL 3555110, at *7-9 (N.D. Cal. Aug. 5, 2019) (emphasis added)
 5 (citing Brown v. MCI WorldCom Network Servs., Inc., 277 F.3d 1166, 1172 (9th
 6 Cir. 2002)).
 7          In his opinion Judge Gilliam readily rejected defendant’s—and now Square’s
 8 argument—that a stay is nonetheless warranted because the FCC has sought
 9 additional public comment after Marks was decided:
10                 since [the Post-Marks FCC Order], the Ninth
11                 Circuit has confirmed that Marks is the law of the
                   Ninth Circuit. In essence, then, Defendant asks this
12                 Court to hold that the state of the law is so unclear
13                 that this case must await FCC guidance when the
                   Ninth Circuit has repeatedly found otherwise. The
14                 Court declines that invitation and finds that
15                 primary jurisdiction does not support granting
                   Defendant's request for a stay.
16
17 Izor, 2019 WL 3555110, at *8-9 (emphasis added) (citing Duguid v. Facebook, Inc.,
18 926 F.3d 1146, 1150 (9th Cir. 2019) (holding that the Marks’ “definition governs
19 this appeal”)); see also Pascal v. Concentra, Inc., No. 19-cv-02559-JCS, at *4 (N.D.
20 Cal. Oct. 24, 2019) (“As Judge Guilliam pointed out, since that second notice was
21 issued, “the Ninth Circuit has confirmed that Marks is the law of the Ninth
22 Circuit.”)).
23          As previous courts have recognized in denying motions to stay to wait for
24 pending guidance, there is no guarantee that, even after the supposedly authoritative
25 guidance is issued, the definition of ATDS will be any clearer than it is now and that
26 the decision would go unchallenged:
27                 Furthermore, it is not clear to the court that the
28                 promulgation of regulations, if they occurred,

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                   would simplify or save judicial resources. First, the
 1
                   Ninth Circuit has clearly ruled on the definition of
 2                 an ATDS. This Court is bound by that ruling, even
                   when faced with a possible contradictory
 3
                   regulation. Second, the possibility of a
 4                 contradictory regulation is so speculative that it
 5                 does not warrant the stay. Finally, it is not at all clear
                   that any regulation dealing with nonconsenting
 6                 parties would be applicable to this case. The FCC
 7                 has primarily focused on reassigned numbers as
                   opposed to numbers simply called in error. It is
 8                 unclear at this stage of the proceedings that any
 9                 regulation would even be applicable to this case.

10          Hoagland v. Axos Bank, No. 19-cv-00750-BAS-JLB, at *7 (S.D. Cal. Feb. 6,
11 2020); see also Abante Rooter & Plumbing Inc. v. Nationwide Mut. Ins. Co., No. 17-
12 cv-03328-EMC, at *5 (N.D. Cal. Jan. 26, 2018) (“In sum, a stay is not warranted.
13 ACA Int’l will not significantly narrow the disputed issues, will not simplify the
14 proceedings, and focused discovery will prepare a factual record so that the legal
15 issues can be resolved after ACA Int’l is decided.”); Hoagland v. Axos Bank, No. 19-
16 cv-00750-BAS-JLB, at *7 (S.D. Cal. Feb. 6, 2020) (“Furthermore, it is not clear to
17 the court that the promulgation of regulations, if they occurred, would simplify or
18 save judicial resources.”); Nicholson v. REI Energy, LLC, No. 3:18-cv-00203-HZ,
19 370 F. Supp. 3d 1199, 1206, 2019 WL 993624, at *5 (D. Or. Feb. 28, 2019) (holding
20 that in light of Marks, “this case presents neither an issue of first impression nor a
21 question better suited to the expertise of the [FCC].”); Thomas v. Smith-Palluck
22 Assocs. Corp., No. 2:17-cv-02001-MMD-CWH, at *5 (D. Nev. Apr. 12, 2019) (“It is
23 also unclear whether the FCC Decision would definitively resolve all pertinent issues
24 in this case.
25          In short, the FCC Decision favorable to Defendant’s position may never arrive.
26 Thus, it would be inefficient to indefinitely delay these proceedings—and efficiency
27 is a key consideration when determining whether to invoke the prudential doctrine of
28 primary jurisdiction.”); Pieterson v. Wells Fargo Bank, N.A., No. 17-cv-02306-EDL,
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 1 2018 WL 3241069, at *3 (N.D. Cal. July 2, 2018) (“[T]he primary jurisdiction
 2 doctrine does not comfortably fit the circumstances of this case because the issues
 3 before the FCC are not ones of first impression and controlling or persuasive law
 4 already exists.”); Castillo v. Caesars Entm't Corp., Case No.: 2:18-cv-02297-GMN-
 5 NJK, at *5 (D. Nev. Sep. 30, 2019) (“In sum, the Court is unconvinced that judges
 6 are incompetent to construe the TCPA to define the contours of an ATDS. Moreover,
 7 even if Defendants' speculation is correct and the FCC “will soon rule” on this
 8 definitional question, the Court is skeptical that such an order would bring finality to
 9 the issue of what constitutes an ATDS.”); Singer v. Las Vegas Athletic Clubs, 376 F.
10 Supp. 3d 1062, 1070 (D. Nev. 2019) (“this cycle of staying a case while an FCC order
11 is pending only to have the FCC order challenged in court has played out before,
12 demonstrating the real possibility of indefinite delay.’”) (citation omitted); Knapper
13 v. Cox Commc’ns, Inc., No. 17-cv-00913-PHX-SPL, 2019 WL 250430, at *2 (D.
14 Ariz. Jan. 17, 2019) (“Marks represents binding law in this Circuit. Consequently,
15 there is no matter of first impression or of such complexity inhibiting this Court from
16 proceeding.”).11
17
     11
          See also Boger v. Citrix Sys., Civil Action No. 8:19-cv-01234-PX, at *6 (D.
18 Md. Apr. 22, 2020) (“Because the Court can discern no clear end point for obtaining
19 such guidance from the FCC, it declines to stay the case under the primary
   jurisdiction doctrine.”); Peralta v. Rack Room Shoes, Inc., No. CV 18-3738, 2018
20 WL 6331798, *8-9 (E.D. La. Dec. 3, 2018) (“Since the District of Columbia Circuit’s
21 ACA International ruling, several district courts have considered whether to apply
   the primary jurisdiction doctrine to stay proceedings in anticipation of the FCC’s
22 guidance on the definition of ATDS, and nearly all of them (of which this Court is
23 aware) have denied the motions to stay.”); Rosenberg v. LoanDepot.com LLC, Civil
   Action No. 19-10661-NMG, at *10 (D. Mass. Jan. 24, 2020) (“This Court is capable
24 of applying existing law and regulatory framework to determine the definition of an
25 ATDS and to resolve this dispute without updated FCC guidance. There exists an
   extensive body of applicable TCPA caselaw from which this Court can gain
26 insight.”); Cline v. Ultimate Fitness Grp., LLC, No. 618CV771ORL37GJK, 2019
27 WL 4671195, at *4 (M.D. Fla. Feb. 12, 2019) (stating that although a definitive ruling
   from the FCC would “undoubtedly clarify the ambiguity” about the technology that
28 constitutes an ATDS, “that decision could be years away and, even then, may face
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 1          Finally, it is particularly telling that so many defendants are clamoring for a
 2 stay and yet if the FCC were to issue guidance adopting the Marks reasoning, those
 3 same defendants would be the first ones saying that the courts (and not some
 4 regulatory agency) should decide the straightforward statutory construction
 5 argument:
 6                 It is also unclear whether the FCC Decision would
 7                 definitively resolve all pertinent issues in this case.
                   In short, the FCC Decision favorable to
 8                 Defendant’s position may never arrive. Thus, it
 9                 would be inefficient to indefinitely delay these
                   proceedings—and efficiency is a key consideration
10                 when determining whether to invoke the prudential
11                 doctrine of primary jurisdiction.

12          Thomas v. Smith-Palluck Assocs. Corp., No. 2:17-cv-02001-MMD-CWH, at
13 *4-5 (D. Nev. Apr. 12, 2019) (emphasis added); see also Singer v. Las Vegas Ath.
14 Clubs, 376 F. Supp. 3d 1062, 1069 (D. Nev. 2019) (citation omitted) (stating that the
15 primary jurisdiction doctrine does not apply to this situation as “[t]he doctrine is
16 reserved for a ‘limited set of circumstances’ that ‘requires resolution of an issue of
17 first impression, or of a particularly complicated issue that Congress has committed
18 to a regulatory agency.’”).
19   V.     CONCLUSION
20          For the foregoing reasons, Plaintiffs Mishari Aleisa and Nicole Belluomini
21 respectfully request that this Court deny Square’s Motion to Stay, [ECF No. 42], and
22 award all such other relief as is equitable and just.
23                                                KAZEROUNI LAW GROUP, APC

24 Date: August 28, 2020                               By: s/ Yana A. Hart
25                                                          Yana A. Hart, Esq.
                                                            Attorneys for Plaintiff
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   the same challenges as the 2015 FCC order, which would likely prompt another
28 request for a stay”).
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